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                IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                               STATE OF MISSOURI

LEONA COLEMAN,                )
                              )
       Plaintiff,             )
                              )                     Cause No.:    20SL-CC01266
                              )
v.                            )
                              )                    Division No.: 19
CINTAS CORPORATE              )
SERVICES,                     )
                              )
                              )                    JURY TRIAL DEMANDED
Serve at:                     )
c/o CSC-LAWYERS INCORPORATING)
 SERVICE COMPANY              )
221 Bolivar Street            )
Jefferson City, MO 65101      )
                              )
                              )
AND                           )
                              )
RYAN FRANCIS,                 )
                              )
                              )
       Defendants.            )
                              )

                               FIRST AMENDED PETITION

       COMES NOW, Plaintiff Leona Coleman, by and through counsel, and for her cause of

action against Defendants Cintas Corporate Services and Ryan Francis alleges and states as

follows:




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                                PARTIES AND JURISDICTION

       1.      At all times herein mentioned, Plaintiff, Leona Coleman, is a citizen of the United

States above the age of eighteen (18) years who resides within St. Louis County, State of

Missouri.

       2.      At all times mentioned herein, Defendant Cintas Corporate Services (“Cintas”) is

and was a corporation with a contract to provide commercial facility cleaning services to

Missouri Baptist Hospital, located in St. Louis County, State of Missouri.

       3.      At all times mentioned herein, Defendant Ryan Francis (“Francis”) is and was an

employee of Cintas, and upon information and belief, at all times relevant hereto resided in the

State of Missouri.

       4.      Venue in this Court is proper in that the acts and occurrences that gave rise to this

cause of action took place in St. Louis County, State of Missouri.

                            COMMON FACTUAL ALLEGATIONS

       5.       On October 15, 2017, in the scope of her employment as a security officer for

Missouri Baptist Hospital (“Hospital”), Plaintiff was on the ground floor of the Hospital, heading

to the dock area to retrieve the public safety vehicle.

       6.      As Plaintiff was walking down the hallway, she noticed a long blue hose

extending from the dock door into one of the offices, and Francis, one of the Cintas employees

approaching through the dock door.

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        7.     At that time, Plaintiff was asked by Francis, the Cintas employee, to unlock the

the Human Resources office door so he could clean the carpet. Plaintiff unlocked the door and

asked Francis to keep the Human Resources office door propped open because they were short

staffed, and it may be awhile before a security officer was able to return to unlock it again.

        8.     Plaintiff returned sometime later and asked Francis, the Cintas employee

whether he was able to get into the Human Resources office okay, and he indicated he had

accidentally let the door close and it had locked. He asked if Plaintiff could unlock the door

again. Plaintiff then turned around to walk back towards the Human Resources door, and

went to step over the blue hose, but as she did so, Francis, the Cintas employee was pulling the

hose, which caused the hose to go under Plaintiff’s foot, and she thereafter stepped on it, causing

her to fall.

        9.     Plaintiff fell violently forward onto her right knee, right arm, and shoulder.

Immediately upon hitting the ground, Plaintiff felt a pain so severe in her left leg, she believed

she had broken it.

        10.    As a result of the dangerous condition of the hose, and the negligent actions of

Francis, the Cintas employee, Plaintiff tore her left quadricep tendon and tore her right rotator

cuff. Both injuries required surgery to repair and extensive, painful physical therapy. Plaintiff

also suffered injury to her right knee and lower back. Plaintiff missed significant time from

work during her recovery period.

                                   COUNT I-NEGLIGENCE

        11.    Plaintiff does hereby incorporate by reference each and every allegation contained

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in Paragraphs 1-10, as if fully set forth herein.

        12.    Defendants knew or in the exercise of ordinary care, should have known of the

dangers posed by having one of its vacuum hoses extended across a main thoroughfare of the

hospital, namely, a hallway.

       13.     The dangerous condition created by Defendants created a reasonably foreseeable

risk of harm of the kind of injury that Plaintiff incurred.

       14.     The danger posed by the hose, in conjunction with the movement of the hose by

Francis, the Cintas employee, was not open and obvious to Plaintiff.

       15.     The aforementioned occurrence and injuries to Plaintiff were the direct and

proximate result of the negligence and carelessness of Defendants in the following respects:

               a)      Defendants were negligent and careless in that the instrument which

                       caused the dangerous condition were within its custody and control, and

                       they caused the dangerous condition to be present;

               b)      Defendants were negligent and careless in that Francis, an employee of

                       Cintas, made the already dangerous condition more dangerous by moving

                       the hose while Plaintiff was stepping over it;

               c)      Defendants were negligent and careless in that they created the dangerous

                       condition of the hose extending into the hallway, a main thoroughfare of

                       the Hospital, and they failed to take steps to warn of the danger and/or to

                       barricade the area so as not to allow individuals to traverse the area until

                       the work was complete.
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       16.     As a direct and proximate result of the negligence and carelessness of Defendants,

Plaintiff was caused to sustain progressive, painful and traumatic injuries and lasting injuries to

her left quadricep tendon, her right rotator cuff, and right knee and lower back. Plaintiff suffers

and will continue to suffer severe pain and discomfort, emotional distress, loss of enjoyment of

life, and the function and use of said body parts has been limited and impaired.

       17.     As a further direct and proximate result of the negligence on the part of

Defendants, Plaintiff has incurred the following:

               A)      lost wages;

               B)      medical bills; and

               C)      loss of enjoyment of life.



       WHEREFORE, Plaintiff respectfully requests the Court to enter a monetary judgment in

her favor and against Defendants Cintas Corporate Services and Francis in an amount which

meets the jurisdictional authority of this Court. Plaintiff further asks for her reasonable costs of

court as against Defendants and for such further orders as this Court deems just and proper under

the facts and circumstances of this case.
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                                          Respectfully Submitted,

                                          LAW OFFICES OF RICK BARRY, P.C.


                                   By:    /s/ Megen I. Hoffman
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was served via the
Court’s electronic filing system, this 15th day of December , 2020.

Jessica B. Cozart
Shatrasha L. Stone
BAKER STERCHI COWDEN & RICE, LLC
100 North Broadway, 21st Floor
St. Louis, MO 63102

                                                        /s/ Megen I Hoffman




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